       Case 2:17-cv-00909-AKK Document 25 Filed 03/23/18 Page 1 of 1               FILED
                                                                          2018 Mar-23 AM 09:37
                                                                          U.S. DISTRICT COURT
                                                                              N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

RANDALL DAWKINS,                     )
                                     )
     Plaintiff,                      )
v.                                   )
                                     )            Civil Action Number
MEDICAL DATA SYSTEMS                 )            2:17-cv-00909-AKK
                                     )
     Defendant.                      )
                                     )
                                  ORDER

     Consistent with the Joint Stipulation of Dismissal, doc. 24, this case is

DISMISSED WITH PREJUDICE. The parties bear their own costs.


     DONE the 23rd day of March, 2018.


                                   _________________________________
                                            ABDUL K. KALLON
                                     UNITED STATES DISTRICT JUDGE
